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15
16                              UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                          )    Civil Action No. 3:19-cv-0807-RS
19    Innovation Law Lab, et al.,         )
                                          )
20          Plaintiffs,                   )    [PROPOSED] ORDER
                                          )    GRANTING DEFENDANTS’
21
                                          )    MOTION TO FILE UNDER SEAL
22                                        )    EXCERPTS OF THE INDIVIDUAL
                                          )    PLAINTIFFS’ ALIEN FILES
23                                        )
      v.                                  )
24
                                          )
25    Kirstjen Nielsen, et al.,           )
                                          )
26          Defendants.                   )
27                                        )

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           The Court, having considered Defendants’ Administrative Motion to File Alien Files
 1
 2   under seal, and good cause appearing therefore, the Court hereby GRANTS the Motion to file

 3   excerpts of the individual Plaintiffs’ Alien Files under seal. The Court orders that the excerpts
 4
     of the individual Plaintiffs’ Alien Files be sealed in their entirety.
 5
           IT IS SO ORDERED.
 6
 7         Issued this ____ day of _______, 201__.

 8                                                                            _______________________
 9                                                                            United States District Judge
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